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TRULINCS 67662054 - LASHER, LENA - Unit: DAN-O-A

FROM: 67662054

TO:

SUBJECT: Lena Lasher District Court
DATE: 01/12/2017 12:48:50 PM

US District Courthouse Southern District of New York 1/12/2017
500 Pearl St.
NY, NY 10007

Dear Clerk of the Court,
My name is Lena Lasher. My case number is: S1 12 Cr. 868 (NRB) Judge Naomi Buchwald

Yesterday, January 11, 2017, | mailed out a Motion for a Petition to Compel Exculpatory Evidence Currently in
Prosecutors/Government's Possession and Heretofore Withheld, the petition itself and its exhibits, and the certificate to the
Court, Honorable Judge Naomi Reice Buchwald, AUSA Margaret Garett, and Attorney Louis Freeman. However, due to the
computer's problem | was experiencing, my document did not double space properly. Last night, | was able to fix this problem.
Thus, today I'll mail this double spaced format of the petition; its content is exactly the same as the one mailed out yesterday.

| am now requesting a court appointed attorney to assist me with the Motion for a Petition to Compel Exculpatory Evidence
Currently in Prosecutors/Government's Possession and Heretofore Withheld.

Thank you very much for your time and understanding.

Sincerely, ,
Lomolowhen

Lena Lasher

Register # 67662-054

Federal Correctional Institution
33 & 1/2 Pembroke Road
Danbury, CT 06811-3099

cc. HONORABLE Judge Naomi Reice Buchwald US District Court Southern District of New York 500 Pearl St. NY, NY 10007
AUSA Attorney Margaret Garnett US Attorney's Office for Southern District New York 1 St. Andrew's Plaza, NY, NY 10007
Attorney Louis Freeman 75 Maiden Lane, NY NY 10038
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA
V. DOCKET #: 12cr868
LENA LASHER
PETITION TO COMPEL EXCULPATORY EVIDENCE CURRENTLY IN PROSECUTORS/GOVERNMENT'S
POSSESSION AND HERETOFORE WITHHELD

Now comes the petitioner, Lena Lasher, through pro-se representation, hereby respectfully petitions the Honorable Court
to move for an Order compelling the prosecutor of The Southern District of New York to provide the Defendant with copies of
all tangible evidence in the prosecutor's/Government's possession including, but not limited to, 3500 materials (Jenkins) and
statement of co-defendants (Dr. Imbernino, Peter (J.) Riccio), video recordings, exhibits and testimony which would
exculpate, tend to exculpate, or in any way provide mitigating factors in connection with the Defendant's alleged commission
of the offense charged in the above captioned indictment. I'm also requesting the Court to order the Government to provide
an origin and chain of custody accounting for all evidence, including but not limited to: Any exculpatory evidence which were
not revealed nor delivered to me, and heretofore used against me and demand their immediate release into my possession.

Defendant does know for a fact, per Bates document number 008902 (See Exhibit A page 3) that the video recordings was
in the possession of the DEA in Newark, NJ:

* Video recordings (DVR Aver Media EH5216 SN0089310050N) seized from Towne Pharmacy 2 S. Washington Ave.
Dunellen, NJ 08812. Seized by US Department of Justice-Drug Enforcement Administration (NJ Division). File No. C3-10-
2094. Date Seized: 11/29/2012 USA vs. Peter Riccio, et al. Bates (document) number: 008902. Receipts for cash or
other items. Received by Anthony J. Rego, Diversion Investigator. Witnessed by Steven Fischer, Special Agent).

“ As per FOIA (See Exhibit A page 1), the DEA turned over this evidence to AUSA SDNY on October 9, 2013. The
Government had in its possession, physical evidence of the video recording which was referenced at trial: this evidence
would have exonerated me of the allegations and the charges. | and my attorney Louis Freeman, have requested, from the
prosecutors/Government, the video recordings of the pharmacies during pretrial, trial, and pre-sentencing. Mr. Freeman
never formaily requested of the production of same until after trial. (See Exhibit B). When the video recording was, finally,

formally requested, the Government advised Defendant that they never had possession of the video tape recording of the
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pharmacies).

“The defendant would also want a copy of the “alleged" photos on Defendant's phone which were used at trial (Exhibit
801a); according to FOI/PA's letter of January 6, 2017 (See Exhibit C), "the photos used at trial and Exhibit 801a- those
would likely be something held and created by the U.S. Attorney's Office in the Southern District of New York."

At this time, I'm requesting the Court to order the Government to provide an origin and chain of custody accounting for all
evidence heretofore used against me and demand their immediate release into my possession. Please move forward to
getting me the above items allegedly used against me at trial, which | previously did not even know existed. This
exculpatory evidence could have exonerated me and is a clear violation of my 4th Amendment Right (Brady's Violation)

If needed, please appoint me a court appointed attorney in the above matters.

Respectfully submitted A
lomoloahen

Lena Lasher, pro-se January 11, 2017
Register # 67662-054

Federal Correctional Institution

33 1/2 Pembroke Rd.

Danbury, CT 06811-3099

TO: HONORABLE Judge Naomi Reice Buchwald US District Court Southern District of New York 500 Pearl St NY, NY 10007
AUSA Attorney Margaret Garnett US Attorney's Office for Southern District New York 1 St. Andrew's Plaza NY,NY 10007
Attorney Louis Freeman 75 Maiden Lane, NY NY 10038
Case 1:12-cr-00868-NRB Document 322 Filed 01/20/17 Page 4 of 4

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Clerk Of The Court

 

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